Case 4:23-cv-05580-DMR Document 26 Filed 12/15/23 Page 1 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 4:23-CV-5580 DMR

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any) AL! ALAM, an individual

was received by me on (date) 11/14/2023

[X] I personally served the summons on the individual at (place) Ali Alam
44075 Pipeline Piz, Ste 215, Ashburn, VA 20147 _ on (date) 11/15/2023 at 10:56AM_; or

[_] I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

[_] I served the summons on (name of individual) . who is

designated by law to accept service of process on behalf of (name of organization)

on (date) > or
[_] I returned the summons unexecuted because ; or
C] Other (specify):
My fees are $ for travel and $ for services, for a total of $

| declare under penalty of perjury that this information is true.

Date: 11/15/2023

— Sever 's signature

ark Hagood - Process Server
Printed name and title
ASAP Legal
1625 Clay Street, 4th Floor, Oakland, CA 94612
(510) 785-2300
Ref: SF34022209

Server 's address

Additional information regarding attempted service, etc:

Additional documents served:

Complaint; Demand for Jury Trial; Order Setting Initial Case Management Conference and ADR Deadlines; Standing Order for Magistrate
Jucge Donna M. Ryu; Consent or Declination to Magistrate Judge Jurisdiction (blank); Notice of Electronic Filing - Notice of Assignment
of Case Redacted
Case 4:23-cv-05580-DMR Document 26 Filed 12/15/23 Page 2 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 4:23-CV-5580 DMR

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())
DYNAMIC DIGITAL SOLUTIONS LLC,
This summons for (name of individual and title, ifany) 4 Virginia limited liability company

was received by me on (date) 11/14/2023

[X] I personally served the summons on the individual at (place) Ali Alam - Registered Agent
44075 Pipeline Plz, Ste 215, Ashburn, VA 20147 _ on (date) 11/15/2023 at 10:58AM_; or

[_] | left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

TC I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 5 or
[_] I returned the summons unexecuted because ; or
[_] Other (specify):
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date: 11/15/2023 K (, AWNL 4)

Mark Hagood - Process Server

Printed name and title

ASAP Legal
1625 Clay Street, 4th Floor, Oakland, CA 94612
(510) 785-2300
Ref: SF34022210

Server's address

Additional information regarding attempted service, etc:

Additional documents served:

Complaint; Demand for Jury Trial; Order Setting Initial Case Management Conference and ADR Deadlines; Standing Order for Magistrate
von ae M. Ryu; Consent or Declination to Magistrate Judge Jurisdiction (blank); Notice of Electronic Filing - Notice of Assignment
of Case Redacted
Case 4:23-cv-05580-DMR Document 26 Filed 12/15/23 Page 3 of 4

AO 440 (Rey. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 4:23-CV-5580 DMR

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)
ONE STOP COMPUTER SERVICES LLC,
This summons for (name of individual and title, if any) @ Virginia limited liability company

was received by me on (date) 11/14/2023

[X] I personally served the summons on the individual at (place) Mehwash Munir - Registered Agent
44075 Pipeline Plz, Ste 215, Ashburn, VA 20147 — on dare) 11/15/2023 at 10:57AM ; or

[_] I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

[_] I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) or
[_] I returned the summons unexecuted because ; or
C Other (specifi):
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date: 11/15/2023

Mark Hagood - Process Server
Printed name and title
ASAP Legal
1625 Clay Street, 4th Floor, Oakland, CA 94612
(510) 785-2300
Ref: SF34022212

Server's address

Additional information regarding attempted service, etc:

Additional documents served:

Complaint; Demand for Jury Trial; Order Setting Initial Case Management Conference and ADR Deadlines; Standing Order for Magistrate
eee oe aves Consent or Declination to Magistrate Judge Jurisdiction (blank); Notice of Electronic Filing - Notice of Assignment
of Case Redacte
Case 4:23-cv-05580-DMR Document 26 Filed 12/15/23 Page 4 of 4
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 4:23-CV-5580 DMR
PROOF OF SERVICE

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

TEKNOBYL DIGITAL LLC,
This summons for (name of individual and title, ifany) a Wyoming limited liability company

was received by me on (date) 11/15/2023

CI personally served the summons on the individual at (place)

on (date) ; Or

[_] I left the summons at the individual’s residence or usual place of abode with (name)

, 4 person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

[X] I served the summons on (name of individual) Savannah Bell - Clerk , who is
designated by law to accept service of process on behalf of (name of organization) Registered Agents, Inc.
30 N Gould St., Ste R, Sheridan, WY 82801 on (date) 11/15/2023 at 11:32AM : or

[_] I returned the summons unexecuted because ; or
CL] Other (specify):

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date: 11/15/2023 Ly}- < it

Server's signature

Dustin Looper - Process Server

Printed name and title
ASAP LEGAL
1625 Clay Street, 4th Floor Oakland, CA 94612
(510) 785-2300
Ref: SF34022204

Server’s address

Additional information regarding attempted service, etc:

Additional documents served:

Complaint; Demand for Jury Trial; Order Setting Initial Case Management Conference and ADR Deadlines; Standing Order for Magistrate
Judge Donna M. Ryu; Consent or Declination to Magistrate Judge Jurisdiction (blank); Notice of Electronic Filing - Notice of Assignment
of Case Redacted
